

Bubar v Brodman (2020 NY Slip Op 00806)





Bubar v Brodman


2020 NY Slip Op 00806


Decided on January 31, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 31, 2020

PRESENT: WHALEN, P.J., PERADOTTO, LINDLEY, AND DEJOSEPH, JJ. (Filed Jan. 31, 2020.) 


MOTION NO. (881/19) CA 18-01785.

[*1]DONNA M. BUBAR, INDIVIDUALLY, AND AS EXECUTRIX OF THE ESTATE OF RAYMOND BUBAR, DECEASED, PLAINTIFF-RESPONDENT, 
vRICHARD BRODMAN, M.D., ET AL., DEFENDANTS, AND DOROTHY URSCHEL, ANCP-C, DEFENDANT-APPELLANT. (APPEAL NO. 1.)



MEMORANDUM AND ORDER
Motion for reargument or leave to appeal to the Court of Appeals denied.








